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                        United States District Court
                         Northern District of Texas
                             Amarillo Division
STATE OF TEXAS,
   Plaintiff,
v.
                                                  Case 2:22-cv-00094
ALEJANDRO MAYORKAS, in his official
 capacity as Secretary of Homeland
 Security, et al.,
  Defendants.

                Texas’s Motion for Preliminary Injunction

     As set forth in its accompanying brief, the State of Texas moves that the

Court issue a preliminary injunction prohibiting the Defendants from

implementing their Interim Final Rule, Procedures for Credible Fear Screening

and Consideration of Asylum, Withholding of Removal, and CAT Protection

Claims by Asylum Officers, 87 Fed. Reg. 18,078 (Mar. 29, 2022), or, in the

alternative, postponing or staying its effective date.

     The parties are conferring on how to proceed with this case and will file a

joint status report with the Court no later than tomorrow.


Dated May 23, 2022.                      Respectfully submitted,
KEN PAXTON                               /s/ Aaron F. Reitz
Attorney General of Texas                AARON F. REITZ
                                         Lead Counsel
BRENT WEBSTER                            Deputy Attorney General for Legal Strategy
First Assistant Attorney General         Texas Bar No. 24105704
                                         aaron.reitz@oag.texas.gov
OFFICE OF THE ATTORNEY GENERAL
P.O. Box 12548                           LEIF A. OLSON
Austin, Texas 78711-2548                 Special Counsel
(512) 936-1700                           Texas Bar No. 24032801
                                         leif.olson@oag.texas.gov
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                                       GENE P. HAMILTON
                                       America First Legal Foundation
                                       300 Independence Avenue SE
                                       Washington, DC 20003
                                       (202) 964-3721
                                       gene.hamilton@aflegal.org

                                       Counsel for the State of Texas

                        Certificate of Conference

   I certify that on May 23, 2022, I conferred with Brian Ward, counsel for the

Defendants, and he informed me that the Defendants oppose this motion.

                                      /s/ Leif A. Olson

                          Certificate of Service
   I certify that on May 23, 2022, this brief was filed through the Court’s

CM/ECF system, which served it upon all counsel of record.

                                      /s/ Aaron F. Reitz
